 

Case 2:18-cV-00199-CB Document 4 Filed 02/26/18 Page 1 of 1

AO 399 (Ul "09| Waiver of the Scrvice ofSummons

 

UNITED STATES DISTRICT COURT

for the
Western District of Pennsylvania

SLurLl't Q_hattetji
i’iaint't_’,@r
v.
Qty of Pittsburg_h_ B Lirtda Barone
Defenriant

Civil Action No. 2:‘|8-CV-OO199-CB

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WAlVER OF THE SERVICE OF SUMMONS

To: m A~/£J_-_-___L__d\/:/`Yévl__

(Name aftite plainth attorney or nnrepresenre irrinti)j')

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver forrn, and a prepaid means of returning one signed copy of the form to you.

l, or the entity l represent, agree to save the expense of serving a summons and complaint in this ease.

l understand that l, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that l waive any objections to the absence cfa summons or of service.

I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from 02/20!2018 , the date when this request was sent (or 90 days if it was sent outside the
United States). lf l fail to do so, a default judgment will be entered against me or the entity l represent.

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Sr'gnnmre afrhe attorney or unrepresented party
Ct 0 - 5 v f _ §§ _ c_ gap _
Frinte name of party waiving service ofstn ns Printed name
Addrr_'.':s

E-mnil address

Teiepnone number

 

Duty to Avold Unnecessary E.'tpcnses of Serving a Summons

Ru|e 4 ofthe Federal Rules ofCivil Procedure requires certain defendants to cooperate in saving unnecessary expenses ofset'ving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located m
the United States will be required to pay the expenses of serviee, unless the defendant shows good cause for the failure.

“Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property.

|f the waiver is signed and returned, you cart still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

ll` you waive service. then you must. within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond titan ifa summons had been sen ed.

